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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 23-CV-20433-KMW

  CHRISTOPHER GOLEBIOWSKI,

        Plaintiff,

  v.

  ZOETOP BUSINESS CO., LIMITED, a Hong Kong
  limited company and SHEIN DISTRIBUTION CORP.,
  a Delaware corporation,

        Defendants.
  _______________________________________________/

       DEFENDANT ZOETOP BUSINESS CO., LIMITED’S MOTION TO DISMISS
           THE COMPLAINT PURSUANT TO FED. R. CIV. P. 12(B)(5) FOR
                 INSUFFICIENT SERVICE OF PROCESS AND
                   MEMORANDUM OF LAW IN SUPPORT
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           Pursuant to Federal Rule of Civil Procedure 12(b)(5), Defendant ZOETOP BUSINESS

  CO., LIMITED (“Zoetop”) moves for an Order dismissing Plaintiff CHRISTOPHER

  GOLEBIOWSKI’s (“Golebiowski”) Complaint.

     I.         Introduction

           In this case, counsel for Defendant Zoetop Business Co., Ltd. (“Zoetop”) offered to waive

  service of the Complaint [D.E. 1] (hereinafter the “Complaint”) and summons under Federal Rule

  of Civil Procedure, Rule 4(d). See Declaration of Thomas P. Burke Jr. (“Burke Decl.”), ¶ 3, Ex. 1.

  Counsel for Plaintiff accepted that offer, and informed counsel for Zoetop that they would send

  the waiver forms the next day. Id. That did not happen. Instead, weeks later, Plaintiff attempted to

  serve Zoetop—a Hong Kong entity—at the old address of its co-defendant, Shein Distribution

  Corporation, in Los Angeles, California. Compare D.E. 12 with Burke Decl., Ex. 4.

           Upon informing Plaintiff’s counsel that this service was not effective, Plaintiff’s counsel

  responded that they had previously served Zoetop at that address “without any issue.” Burke Decl.,

  Ex. 1. Counsel for Zoetop has been unable to find any proof of this, and counsel for Plaintiff has

  not provided any either. Nevertheless, Zoetop does not intend to waive its insufficient-service-of-

  process defense in this case. Accordingly, Zoetop moves the Court for an order dismissing the

  Complaint against Zoetop under Rule 12(b)(5) or, in the alternative, for an order quashing service

  and ordering Plaintiff to make service in accordance with Fed. R. Civ. P. 4.

     II.        A Federal Court Cannot Exercise Jurisdiction Over a Defendant Until That
                Defendant Has Been Properly Served.

           A.      A defendant may move to dismiss under Rule 12(b)(5) for insufficient service
                   of process.

           “Before a federal court may exercise personal jurisdiction over a defendant, the procedural

  requirement of service of summons must be satisfied.” Omni Cap. Int’l, Ltd. v. Rudolf Wolff &

  Co., 484 U.S. 97, 104 (1987); see also De Gazelle Grp. v. Tamaz Trading Establishment, 817 F.3d


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  747, 749 (11th Cir. 2016) (“[A]n individual or entity is not obligated to engage in litigation unless

  officially notified of the action … under a court’s authority, by formal process.” (quoting Prewitt

  Enters. v. OPEC, 353 F.3d 916, 925 (11th Cir. 2003))). A defendant may seek dismissal for

  insufficient service of process. Kammona v. Onteco Corp., 587 F. App’x 575, 578 (11th Cir. 2014).

  When a defendant files a motion to dismiss under Rule 12(b)(5), the “plaintiff has the burden to

  demonstrate sufficient service of process by making a prima facie case of proper service.”

  Hollander v. Wolf, 2009 WL 3336012, at *3 (S.D. Fla. Oct. 14, 2009). “A defendant’s actual notice

  is not sufficient to cure defectively executed service.” Albra v. Advan, Inc., 490 F.3d 826, 829

  (11th Cir. 2007).

            B.      Rule 4 of the Federal Rules of Civil Procedure governs the adequacy of service.

            Rule 4(h) of the Federal Rules of Civil Procedure sets forth the acceptable methods for

  serving a foreign corporation, such as Zoetop:

            (1) in a judicial district of the United States:

                    (A) in the manner prescribed by Rule 4(e)(1) for serving an individual; or

                    (B) by delivering a copy of the summons and of the complaint to an officer,
                    a managing or general agent, or any other agent authorized by appointment
                    or by law to receive service of process and—if the agent is one authorized
                    by statute and the statute so requires—by also mailing a copy of each to the
                    defendant; or

            (2) at a place not within any judicial district of the United States, in any manner
            prescribed by Rule 4(f) for serving an individual, except personal delivery
            under (f)(2)(C)(i).

     III.        Plaintiff’s Attempt to Serve Zoetop by Substitute Service at the Wrong Address
                 on an Unidentified Individual Warrants Dismissal of Plaintiff’s Complaint
                 Against Zoetop or, in the Alternative, Quashing of Service.

            A.      Plaintiff attempted to effect service under California Code of Civil Procedure
                    section 415.20.




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         The Declaration of Service filed by Plaintiff in this case (D.E. 12) shows that Plaintiff did

  not serve Zoetop under Rule 4(h)(1)(B) or 4(h)(2). The Declaration states that service took place

  at “757 S Alameda St, [Suite] 220[,] Los Angeles, CA 90021” on March 1, 2023. Id. Therefore,

  service was not made pursuant to Rule 4(h)(2). And the Declaration states that the person served

  was Rupert Cadena (“Cadena”). Id. Cadena is identified as a receptionist (id.) but, in actuality, he

  is a security guard for the entire building. See Declaration of Dana Chu (“Chu Decl.”), ¶ 6.

  Regardless, he is not an officer, managing agent, or individual authorized to receive service of

  process by Rule 4(h)(1)(B). Therefore, we are left with Rule 4(h)(1)(A) to guide the Court. This

  rule authorizes service on a foreign entity in a judicial district of the United States “in the manner

  prescribed by Rule 4(e)(1) for serving an individual.” That rule, in turn, allows for service by

  “following state law for serving a summons in an action brought in courts of general jurisdiction

  in the state where the district court is located or where service is made.”

         It appears that Plaintiff was attempting to serve Zoetop by substituted service, as allowed

  by California Code of Civil Procedure section 415.20: “a summons may be served by leaving a

  copy of the summons and complaint during usual office hours in his or her office … with the

  person who is apparently in charge thereof, and by thereafter mailing a copy of the summons and

  complaint by first-class mail, postage prepaid to the person to be served at the place where a copy

  of the summons and complaint were left.”1 See also D.E. 12 (“I served the summons at … In the


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    Since service was purportedly made under section 415.20, the alleged service was not complete
  until March 12, 2023. See D.E. 12 (stating that a copy of the complaint and summons was mailed
  on March 2, 2023); Cal. Civ. Proc. Code § 415.20(a) (“Service of a summons in this manner is
  deemed complete on the 10th day after the mailing.”). Thus, Zoetop’s purported deadline to
  respond to the Complaint is actually Monday, April 3, 2023. See Cal. Civ. Proc. Code § 415.20(a);
  Fed. R. Civ. P. 12(a)(1)(A) (“A defendant must serve an answer … within 21 days after being
  served with the summons and complaint[.]”); Fed R. Civ. P. 6(a)(1)(C) (when deadline falls on a
  Sunday, the deadline rolls over to the next business day); see also Ennova Rsch. SRL v. BeeBell
  Inc., No. 16-CV-05114-KAW, 2017 WL 1739154, at *6 (N.D. Cal. May 4, 2017) (finding entry
  of default premature and calculating deadline to respond to service via § 415.20 by adding 10 days
  to 21 days). Thus, Zoetop submits that the deadline stated in D.E. 12 is inaccurate, and this motion
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  above mentioned action by substituted service ….”). However, in presumably attempting to serve

  Zoetop by substituted service, Plaintiff still failed to serve Zoetop at the correct address.

         B.      757 S. Alameda St. is not Zoetop’s address.

         As Plaintiff is well aware, Zoetop is a Hong Kong entity. See D.E. 1, ¶ 7 (“Defendant

  ZOETOP BUSINESS CO., LIMITED is a Chinese limited Company with its principal place of

  business in Hong Kong S.A.R. that is doing business with the state of Florida.”); see also Burke

  Decl., Exs. 2 and 3 (Zoetop’s corporate disclosure statement and answer filed in a copyright

  infringement case brought by the same firm). Accordingly, 757 S. Alameda St., Suite 220, Los

  Angeles, California is not Zoetop’s office address. Rather, 757 S. Alameda St. is where Shein

  Distribution Corporation—Zoetop’s co-defendant and a distinct legal entity—is located. Chu

  Decl., ¶ 3. Worse still, Shein Distribution Corporation is no longer located in Suite 220. That is its

  old address, and now it is located in Suite 340. Id., ¶ 4; see also, Burke Decl., Exs. 4 and 5 (Zoetop’s

  filings with the California Secretary of State). Therefore, for this reason, Plaintiff’s substituted

  service on Zoetop was legally insufficient and otherwise invalid.

         C.      Plaintiff failed to identify the individual that he was serving on the proof of
                 service.

         In addition to the fact that Plaintiff served Zoetop at the wrong address, Plaintiff’s service

  of process also fails for a separate, independent reason. When substituted service on an entity under

  section 415.20 takes place, the serving party must “identify [an] individual specified in section

  416.10, subdivision (b) who was served on behalf of the corporation” on its proof of service.

  Ramos v. Homeward Residential, Inc., 223 Cal. App. 4th 1434, 1442 (2014) (emphasis added).

  That section of the California Code of Civil Procedure specifies a corporation’s “president, chief


  is timely. Only in an abundance of caution, and to the extent that the Court disagrees as to Zoetop’s
  interpretation and analysis of the governing case law and related response deadline, Zoetop
  respectfully requests an extension of time so that the Court otherwise treats this response as timely
  filed.
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  executive officer, or other head of the corporation, a vice president, a secretary or assistant

  secretary, a treasurer or assistant treasurer, a controller or chief financial officer, a general

  manager, or a person authorized by the corporation to receive service of process” as individuals

  who may be served. Cal. Civ. Proc. Code § 416.10(b).

           Cadena, the receptionist who was served with the Complaint and summons, does not hold

  any of the titles specified under California’s Code of Civil Procedure. Moreover, Plaintiff’s

  Declaration of Service by Mail does not identify any specific individual. See Fed. R. Civ. P. 4

  (advisory committee’s notes) (“Care must be taken, however, to address the request to an

  individual officer or authorized agent of the corporation. It is not effective use of the Notice and

  Request procedure if the mail is sent undirected to the mail room of the organization.”). As Plaintiff

  failed to identify an individual on the Declaration of Service by Mail, his substituted service on

  Zoetop was improper. Having challenged Plaintiff’s service of process on numerous grounds,

  Plaintiff should now have the burden of demonstrating sufficient service of process. Hollander,

  2009 WL 3336012, at *3.

     IV.      Failure to Strictly Comply with the Rules Warrants Dismissal of Plaintiff’s
              Complaint Against Zoetop or, in the Alternative, an Order Quashing the Alleged
              Service of Process.

           Strict compliance with the rules governing service is required. See Mid-Continent Wood

  Prod., Inc. v. Harris, 936 F.2d 297, 299–303 (7th Cir. 1991) (strict compliance required even

  where defendant had actual notice of lawsuit, actual service came “reasonably close” to satisfying

  Rule 4 requirements, and defendant’s evasive conduct prevented service). Since Plaintiff has not

  strictly complied with the requirements of Fed. R. Civ. P. 4. in serving its Complaint and summons

  on Zoetop, Zoetop respectfully requests that the Court enter an order dismissing the Complaint

  against Zoetop under Rule 12(b)(5) or, in the alternative, an order quashing service and ordering

  Plaintiff to make service in accordance with Fed. R. Civ. P. 4.


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     V.      Conclusion

          For all of the foregoing reasons, Defendant Zoetop respectfully requests that the Court

  dismiss the Complaint or, in the alternative, an order quashing service and ordering Plaintiff to

  make sufficient service, and award all other relief to Defendant Zoetop that the Court deems

  appropriate.

                                              Respectfully submitted,

  Dated: March 23, 2023                       Oliver Alan Ruiz
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